Case 3:20-cv-00085-RGE-CFB Document1 Filed 10/09/20 Page 1 of 4

 

 

 

 

 

 

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Defendant(s) )
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names of all the defendants cannot fit in the s2 ge é above, please )
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ae COMPLAINT FOR A CIVIL CASE

L The Parties to This Complaint
A. The Plaintiffs)
Provide the information below for each plein named in the complaint, Attach additional pages if

 

 

 

 

 

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B. The Defendant(s) on

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an Organization, or a corporation. For an individual defendant,
include the person’ 3 job or title (ifkown). Attach additional pages if needed.

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